Case 22-01109-MBK   Doc 1-1 Filed 04/22/22 Entered 04/22/22 13:20:36   Desc
                         Exhibit Deed Page 1 of 7
Case 22-01109-MBK   Doc 1-1 Filed 04/22/22 Entered 04/22/22 13:20:36   Desc
                         Exhibit Deed Page 2 of 7
Case 22-01109-MBK   Doc 1-1 Filed 04/22/22 Entered 04/22/22 13:20:36   Desc
                         Exhibit Deed Page 3 of 7
Case 22-01109-MBK   Doc 1-1 Filed 04/22/22 Entered 04/22/22 13:20:36   Desc
                         Exhibit Deed Page 4 of 7
Case 22-01109-MBK   Doc 1-1 Filed 04/22/22 Entered 04/22/22 13:20:36   Desc
                         Exhibit Deed Page 5 of 7
Case 22-01109-MBK   Doc 1-1 Filed 04/22/22 Entered 04/22/22 13:20:36   Desc
                         Exhibit Deed Page 6 of 7
Case 22-01109-MBK   Doc 1-1 Filed 04/22/22 Entered 04/22/22 13:20:36   Desc
                         Exhibit Deed Page 7 of 7
